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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO: 20-cv-20113-KMW

 

FILED BY_ 64> Dc.

STEVEN F. HELFAND, MAR 27 2020

ANGELA E. NOBLE
CLERK U.S. DIST. CT.
S. D. OF FLA. - FT. LAUD,

 

 

 

Plaintiff,
VS.
BSSLINGER WOOTEN MAXWELL INC. d/b/a BERKSHIRE HATHAWAY
HOMESERVICES EWM REALTY; EDWARD PELOSO; EJP 888 BISCAYNE BLVD 2712,
LLC; and MARCELO STEINMANDER,

Defendants.

RESPONSE BY PLAINTIFF TO OSC

Plaintiff, Steven F. Helfand, in pro se, files this response to the OSC. Plaintiff apologizes
for the unavoidable delay in filing the scheduling order and conference report. While Plaintiff
attempted, to no avail to communicate over relevant issues on a timely basis, the other parties did
not meet and confer on a timely basis. Ultimately, the parties conferred successfully and in good

faith on all issues one day after the OSC was issued.

Dated: March 26, 2020

 

Respectfilly subsaitt

      
  

/s/ Steven Frankl elfand
STEVEN FRANKLYN HELFAND
1400 SW 137% Ave, F112
Pembroke Pines, FL 33027

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